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                 EXHIBIT 71
     Case 3:17-cv-00072-NKM-JCH Document 863-20 Filed 09/05/20 Page 2 of 6 Pageid#:
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                                                                                Page 1
·1· · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·WESTERN DISTRICT OF VIRGINIA
·2· · · · · · · ·CHARLOTTESVILLE DIVISION

·3
· ·    ·   ·ELIZABETH SINES,SETH· · · · · ·)
·4·    ·   ·WISPELWEY,MARISSA BLAIR,· · · ·)
· ·    ·   ·TYLER MAGILL, APRIL MUNIZ,· · ·)
·5·    ·   ·HANNAH PEARCE, MARCUS· · · · · )
· ·    ·   ·MARTIN, NATALIE ROMERO,· · · · )
·6·    ·   ·CHELSEA ALVARADO, and JOHN· · ·)
· ·    ·   ·DOE,· · · · · · · · · · · · · ·)
·7·    ·   · · · · · · · · · · · · · · · · )
· ·    ·   · · · · · · · · · Plaintiffs,· ·) Case No.
·8·    ·   · · · · · · · · · · · · · · · · ) 3:17-cv-00072-NKM
· ·    ·   · · · ·vs.· · · · · · · · · · · )
·9·    ·   · · · · · · · · · · · · · · · · )
· ·    ·   ·JASON KESSLER, et al.,· · · · ·)
10·    ·   · · · · · · · · · · · · · · · · )
· ·    ·   · · · · · · · · · Defendants.· ·)
11

12

13· · VIDEOCONFERENCE DEPOSITION OF RICHARD SPENCER

14· · · · · · · · ·Whitefish, Montana

15· · · · · · · ·Wednesday, July 1, 2020

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22

23· ·Reported by:

24· ·RACHEL F. GARD, CSR, RPR, CLR, CRR

25· ·JOB NO. 180626


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                                                                           Page 104
·1· · · · · · · · · · · R. SPENCER
·2· ·you're about to show me an email or something,
·3· ·I mean -- I don't remember discussing it with
·4· ·Nathan Damigo, but I might have.
·5· · · · Q.· · Okay.· Well, who do you remember
·6· ·discussing it with prior to the event?
·7· · · · A.· · The way that I remember it, and my
·8· ·memory might not be accurate, factual speaking,
·9· ·is that this was Evan         Redacted for PII   or Evan
10· Redacted for PII idea and that it was brought up at
11· ·some point, but I don't quite remember the
12· ·discussions.
13· · · · Q.· · Okay.· Well, you're aware that torch
14· ·marches were something that the Nazi party did
15· ·in Germany in the 1930s, correct?
16· · · · A.· · I'm aware.
17· · · · Q.· · And you're aware -- and you were
18· ·aware of that prior to Charlottesville 1.0,
19· ·correct?
20· · · · A.· · Yes.
21· · · · Q.· · And you were aware prior to
22· ·Charlottesville 1.0 that the Ku Klux Klan used
23· ·torches as a symbol of racial intimidation,
24· ·correct?
25· · · · A.· · I'm aware of that, yes.
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                                                                           Page 143
·1· · · · · · · · · · · R. SPENCER
·2· · · · A.· · I mean, that's the most -- that
·3· ·certainly is one way of taking it.· I mean,
·4· ·I -- yeah, that he was thinking that Antifa
·5· ·will show up, that we'll have to -- you know,
·6· ·some might have to defend themselves or things
·7· ·like that.· I mean, that's certainly how I took
·8· ·it.· But I certainly -- you know, I took it
·9· ·mainly as kind of, you know, tough talk,
10· ·outrageous talk.· No, I never took that in the
11· ·sense that he was desiring violence.
12· · · · Q.· · Okay.· Well, to be clear, did you
13· ·have an understanding at that point that
14· ·Mr. Kessler was interested in fighting
15· ·counter-protesters in some degree when he sent
16· ·you that text in June of 2017?
17· · · · A.· · I think he might have expected to
18· ·have to fight them to some degree as
19· ·represented by that text.· I don't know about
20· ·his desires.
21· · · · Q.· · Right.· My question is really about
22· ·your understanding of what he said.
23· · · · · · · You understood when you received
24· ·that text in June of 2017 that Mr. Kessler was
25· ·interested in some degree in fighting


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                                                                           Page 144
·1· · · · · · · · · · · R. SPENCER
·2· ·counter-protesters at Unite the Right, correct?
·3· · · · A.· · Correct.
·4· · · · Q.· · Okay.· Now, did you ever tell
·5· ·Mr. Kessler that you did not want the rally to
·6· ·be violent?
·7· · · · A.· · I think I said many things to that
·8· ·effect.· At one point I was suggesting that my
·9· ·name not be put on the program in order to make
10· ·it less notorious.
11· · · · Q.· · Okay.· But you did, in fact, agree
12· ·to have your name put on the program, correct?
13· · · · A.· · I eventually did agree to have my
14· ·name put on the program, yeah.
15· · · · Q.· · And you also spoke with Mr. Kessler
16· ·regularly throughout the summer of 2017
17· ·regarding certain aspects of planning Unite the
18· ·Right, correct?
19· · · · A.· · Regarding certain aspects, that's
20· ·correct.· I mean, he would send me text
21· ·messages on occasion.· I was not in intimate
22· ·contact about logistics or planning.
23· · · · Q.· · Okay.· But you agreed to help
24· ·Mr. Kessler promote Unite the Right in certain
25· ·ways, correct?


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                                                                              Page 367
·1· · · · · · · · · · · R. SPENCER

·2· · · · · · · · C E R T I F I C A T E

·3· ·STATE OF ILLINOIS· )
· · · · · · · · · · · · ) ss.:
·4· ·COUNTY OF COOK· · ·)

·5· · · · I, RACHEL F. GARD, CSR, RPR, CLR, CRR,

·6· ·within and for the State of Illinois do hereby

·7· ·certify:

·8· · · · That RICHARD SPENCER, the witness whose

·9· ·deposition is hereinbefore set forth, was

10· ·duly sworn by me and that such deposition

11· ·is a true record of the testimony given by

12· ·such witness.

13· · · · I further certify that I am not

14· ·related to any of the parties to this

15· ·action by blood or marriage; and that I am

16· ·in no way interested in the outcome of this

17· ·matter.

18· · · · IN WITNESS WHEREOF, I have hereunto

19· ·set my hand this 6th day of July, 2020.

20

21· ·----------------------------------

22· ·RACHEL F. GARD, CSR, RPR, CLR, CRR

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